         Case 2:01-cr-00101-RSL         Document 1140         Filed 12/08/05     Page 1 of 3




01

02

03

04

05

06                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
07                                    AT SEATTLE

08 UNITED STATES OF AMERICA,              )           CASE NO. CR01-101- RSL
                                          )
09         Plaintiff,                     )
                                          )
10         v.                             )           SUMMARY REPORT OF U.S.
                                          )           MAGISTRATE JUDGE AS TO
11   JOHN CARLTON PETRUS,                 )           ALLEGED VIOLATIONS
                                          )           OF SUPERVISED RELEASE
12         Defendant.                     )
     ____________________________________ )
13

14         An evidentiary hearing on supervised release revocation in this case was scheduled before

15 me on December 8, 2005. The United States was represented by AUSA Ye-Ting Woo and the

16 defendant by Jeffrey Smith. The proceedings were recorded on cassette tape.

17         Defendant had been sentenced on or about February 1, 2002 by the Honorable Robert S.

18 Lasnik on a charge of Conspiracy to Manufacture 50 Grams or More of Methamphetamine and

19 sentenced to 60 Months Custody, 5 years Supervised Release. (Dkt. 603).

20         The conditions of supervised release included requirements that defendant comply with all

21 local, state, and federal laws and with the standard conditions of supervision. Other special

22 conditions included no firearms, mandatory drug testing, narcotic addiction or drug dependency


     SUMMARY REPORT OF U.S. MAGISTRATE JUDGE AS
     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
     PAGE -1
           Case 2:01-cr-00101-RSL         Document 1140         Filed 12/08/05      Page 2 of 3




01 treatment and testing, refrain from alcohol and other intoxicants, submit to search, and provide

02 access to financial information.

03          On September 27, 2005, the conditions of supervised release were modified to require

04 participation in a home confinement program with electronic monitoring for up to 60 days. (Dkt.

05 1126).

06          In an application dated October 27, 2005, U.S. Probation Officer Brian Facklam alleged

07 the following violation of the conditions of supervised release:

08          1.      Committing the law violation of driving under the influence on September 12, 2005

09 in violation of the general condition that he not commit another federal, state or local crime.

10          2.      Failing to report police contact within 72 hours of being arrested or questioned by

11 a law enforcement officer on September 12, 2005 in violation of standard condition 11.

12          3.      Failing to appear for drug testing on September 26, October 7, and October 26,

13 2005 in violation of special condition 3 which orders that he participate in drug testing if ordered

14 to do so.

15          Defendant was advised in full as to those charges and as to his constitutional rights.

16          Defendant admitted each of the alleged violations and waived any evidentiary hearing as

17 to whether they occurred.

18          I therefore recommend the Court find defendant violated his supervised release as alleged

19 and that the Court conduct a hearing limited to the issue of disposition. The next hearing will be

20 set before Judge Lasnik.

21 / / /

22 / / /


     SUMMARY REPORT OF U.S. MAGISTRATE JUDGE AS
     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
     PAGE -2
         Case 2:01-cr-00101-RSL       Document 1140        Filed 12/08/05       Page 3 of 3




01        Pending a final determination by the Court, defendant has been detained.

02        DATED this 8th day of December , 2005.



                                               A
03

04
                                               Mary Alice Theiler
05                                             United States Magistrate Judge

06

07 cc:    District Judge:               Honorable Robert S. Lasnik
          AUSA:                         Ye-Ting Woo
08        Defendant’s attorney:         Jeffrey Smith
          Probation officer:            Brian Facklam
09

10

11

12

13

14

15

16

17

18

19

20

21

22


     SUMMARY REPORT OF U.S. MAGISTRATE JUDGE AS
     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
     PAGE -3
